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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

    In re:                                                Chapter 11

    AGWAY FARM & HOME SUPPLY, LLC,                        Case No. 22-10602 (JKS)

                             Debtor.1

                                                          Objection Deadline: April 10, 2023 at 4:00 p.m. (ET)
                                                                   Hearing Date: Scheduled only if Necessary

     NOTICE OF SEVENTH MONTHLY APPLICATION FOR COMPENSATION AND
    REIMBURSEMENT OF EXPENSES OF PACHULSKI STANG ZIEHL & JONES LLP,
     AS COUNSEL FOR THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
        FOR THE PERIOD OF FEBRUARY 1, 2023 THROUGH FEBRUARY 28, 2023

                 PLEASE TAKE NOTICE that on March 29, 2023, Pachulski Stang Ziehl & Jones

LLP, Counsel for the Official Committee of Unsecured Creditors (the “Committee”), filed the

Seventh Monthly Application for Compensation and Reimbursement of Expenses of Pachulski

Stang Ziehl & Jones LLP, as Counsel for the Official Committee of Unsecured Creditors for the

Period of February 1, 2023 through February 28, 2023 (the “Application”) seeking compensation

for the reasonable and necessary services rendered to the Committee in the amount of $40,028.50

and reimbursement for actual and necessary expenses in the amount of $196.80. A copy of the

Application is attached hereto.

                 PLEASE TAKE FURTHER NOTICE that any response or objection to the

Application, if any, must be made in writing and filed with the United States Bankruptcy Court for

the District of Delaware, 824 North Market Street, 3rd Floor, Wilmington, Delaware 19801 (the

“Court”) on or before April 10, 2023 at 4:00 p.m. Eastern Time.




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  The last four digits of the Debtor’s federal tax identification number are 1247. The Debtor’s address is 6606 W.
Broad Street, Richmond, VA 23230.


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                 The Application is submitted pursuant to the Order Establishing Procedures for

Interim Compensation and Reimbursement of Professionals, entered on August 3, 2022 [Docket

No. 114] (the “Administrative Order”).

                 PLEASE TAKE FURTHER NOTICE that at the same time, you must also serve

a copy of the response or objection upon: (i) the Debtor: Agway Farm & Home Supply, LLC,

6006 W. Broad Street, Richmond, Virginia, 23230 (ii) counsel to the Debtor: Morris James LLP,

500 Delaware Avenue, Suite 1500, Wilmington, Delaware, 19801, Attn: Jeffrey R. Waxman

(jwaxman@morrisjames.com), and Brya Keilson (bkielson@morrisjames.com) and Shulman

Bastian Friedman & Bui LLP, 100 Spectrum Center Drive, Suite 600, Irvine, California, 92618,

Attn:       Alan     J.      Friedman   (afriedman@shulmanbastian.com),    Melissa   Davis   Lowe

(mlowe@shulmanbastian.com), and Max Casal (mcasal@shulmanbastian.com); (iii) the Office of

the United States Trustee, 844 King Street, Suite 2207, Lockbox #35, Wilmington, Delaware,

19801, Attn: Richard L. Schepacarter (richard.schepacarter@usdoj.gov); and (iv) counsel to the

Official Committee of Unsecured Creditors, Pachulski Stang Ziehl & Jones LLP, 919 N. Market

Street, 17th Floor, Wilmington, Delaware, 19801, Attn: Bradford J. Sandler, Esq.

(bsandler@pszjlaw.com) and Colin R. Robinson, Esq. (crobinson@pszjlaw.com).

                 PLEASE TAKE FURTHER NOTICE THAT IF NO OBJECTIONS ARE

FILED AND SERVED IN ACCORDANCE WITH THE ABOVE PROCEDURES, THEN 80%

OF FEES AND 100% OF EXPENSES REQUESTED IN THE APPLICATION MAY BE PAID

PURSUANT TO THE ADMINISTRATIVE ORDER WITHOUT FURTHER HEARING OR

ORDER OF THE COURT.




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                 IF A TIMELY OBJECTION IS FILED AND SERVED, A HEARING ON THE

APPLICATION WILL BE HELD AT A DATE AND TIME TO BE DETERMINED.



 Dated: March 29, 2023                     PACHULSKI STANG ZIEHL & JONES LLP

                                           /s/ Colin R. Robinson
                                           Robert J. Feinstein (admitted pro hac vice)
                                           Bradford J. Sandler (DE Bar No. 4142)
                                           Colin R. Robinson (DE Bar No. 5524)
                                           919 N. Market Street, 17th Floor
                                           Wilmington, DE 19801
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                                                   crobinson@pszjlaw.com

                                           Counsel to the Official Committee of Unsecured
                                           Creditors




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